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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-05940
               Plaintiff,
                                                    Judge Andrea R. Wood
v.                                                  Magistrate Judge Sunil R. Harjani
2017WINTER2017, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 31, 2019 [49], in favor

of H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants Identified in

Schedule A in the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant,

and Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

                Defendant Name                                        Line No.
                RUYI-JIXIANG                                            121

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 19th day of June 2020.    Respectfully submitted,

                                     /s/ RiKaleigh C. Johnson
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                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
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